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            EXHIBIT 3
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 1                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
 2

 3                                           )
       JANSSEN BIOTECH, INC.,                )
 4     and NEW YORK UNIVERSITY,              )
                                             )
 5               Plaintiffs,                 )
                                             )       Civil Action
 6     v.                                    )       No. 15-CV-10698-MLW
                                             )
 7     CELLTRION HEALTHCARE CO.,             )
       LTD, CELLTRION, INC., and             )
 8     HOSPIRA, INC.,                        )
                                             )
 9               Defendants.                 )
                                             )
10

11

12                      BEFORE THE HONORABLE MARK L. WOLF
                          UNITED STATES DISTRICT JUDGE
13

14                                     HEARING

15                                January 31, 2018
                                    10:10 a.m.
16

17
                    John J. Moakley United States Courthouse
18                              Courtroom No. 10
                               One Courthouse Way
19                        Boston, Massachusetts 02210

20

21
                           Kelly Mortellite, RMR, CRR
22                           Official Court Reporter
                    John J. Moakley United States Courthouse
23                        One Courthouse Way, Room 5200
                          Boston, Massachusetts 02210
24                            mortellite@gmail.com

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 1     this first part of Dr. Glacken, we'll resume at 2:30.

 2               MR. HALES:    Will we get to 103 today, Your Honor, do

 3     you anticipate?

 4               THE COURT:    No.

 5               MR. HALES:    Okay.   Thank you.

 6               THE COURT:    Court is in recess.

 7               (Recess taken 12:22 p.m. - 2:45 p.m.)

 8               THE COURT:    I apologize for the 15-minute delay, but I

 9     was trying to digest the arguments this morning and further

10     organize my thoughts.     I'm going to decide the motion to

11     exclude the testimony of Doctors Michael Butler and Florian

12     Wurm orally.    I'm immersed in this, and I'm concerned that if I

13     put it down, I'm not sure when I would get back to it.

14               As I said at the outset, I asked for the testimony and

15     the argument, as I understand this is a consequential issue.

16     Without their testimony there would be no evidence of

17     infringement under the doctrine of equivalents.         Therefore, I

18     haven't reached this decision casually.

19               For the reasons I'll describe, the defendants' motion

20     to exclude the testimony of Doctors Michael Butler and Florian

21     Wurm is hereby denied.      I conclude that the plaintiff has

22     proven that it is more likely than not that the two experts'

23     methods are reliable and have been reliably applied to the

24     facts of this case as required by Federal Rules of Evidence

25     104(a) and 702.
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 1               As is often the case with regard to evidentiary

 2     issues, I consulted Steven Salzberg's Federal Rules of Evidence

 3     Manual Section 702.02 in this case to find a helpful framework.

 4     Among the things, pertinent parts of that treatise are the

 5     following:    After Daubert, it's clearly established that the

 6     court's gatekeeper function is grounded in Rule 104(a), meaning

 7     that the proponent has the burden of convincing the judge that

 8     the experts' opinion is more likely than not grounded in

 9     reliable methodology reliably applied.        It is important, as the

10     Supreme Court discussed in Joiner, that there not be an

11     analytical gap between the experts' conclusions and the studies

12     or tests on which they rely.      However, conclusions and

13     methodology are not entirely distinct from one another.          The

14     trial judge may evaluate the data offered to support an

15     expert's bottom-line opinions to determine if the data provides

16     adequate support to mark the expert's testimony as reliable.

17     This does not mean, however, that trial courts are empowered to

18     determine which of several competing scientific theories has

19     the best provenance.

20               Further, Daubert does not require that a party who

21     proffers expert testimony carry the burden of proving to the

22     judge that the expert's assessment of the situation is correct.

23     The proponent of the evidence must show only that the expert's

24     conclusion has been arrived at in a scientifically sound and

25     methodologically reliable fashion.
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 1     trial that there's vitiation.       Some of the things that Dr.

 2     Butler said might not stand up under the fulsome

 3     cross-examination of the trial.

 4               THE COURT:    So vitiation is an issue to be decided by

 5     the judge?

 6               MR. HALES:    That's right.

 7               THE COURT:    And that can be based on evidence

 8     presented at trial and probably additional evidence?

 9               MR. HALES:    And also -- but it's not just this.          Let

10     me back up for one second -- or sorry, advance for one second.

11     There is a jury instruction that we proposed, right?             So the

12     ultimate decision I think is Your Honor's, but in the Federal

13     Circuit --

14               THE COURT:    What number is that?

15               MR. HALES:    This is slide 20.     We have a proposed jury

16     instruction submitted to Your Honor on the issue of vitiation.

17     This is a jury instruction related to vitiation that comes out

18     of the Federal Circuit Model Bar Association Patent Jury

19     Instructions.

20               THE COURT:    That's 20?

21               MR. HALES:    Slide 20.

22               THE COURT:    It's not 20 in my book.

23               MR. HALES:    No.   21.   I'm sorry, Your Honor.        There

24     was an extra slide that I had inserted, and when we pulled it

25     out, that changed the electronic numbering scheme, so apologies
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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

 6     certify that pursuant to Section 753, Title 28, United States

 7     Code that the foregoing is a true and correct transcript of the

 8     stenographically reported proceedings held in the

 9     above-entitled matter and that the transcript page format is in

10     conformance with the regulations of the Judicial Conference of

11     the United States.

12                           Dated this 12th day of February, 2018.

13

14                           /s/ Kelly Mortellite

15                           _______________________________

16                           Kelly Mortellite, RMR, CRR

17                           Official Court Reporter

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